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IN THE UNITED STATES DISTRICT COURT 05 AUG 2 PH 3., 50
FOR THE WESTERN DISTRICT OF TENNESSEE ‘

WESTERN DIVISION lHOMAS M. GOiR.D

Cl£HK U.S. JPEI?%€CT COURT
wm zr:. asst-ass

CHARLES HENDERSON,

Plaintiff, Case No.: 03 -2 l 62 D

V.

SOUTHWEST TENNESSEE
COMMUNITY COLLEGE, formerly
State Technical Institute of Memphis,

Defendant.

 

ORDER OF REFERENCE

 

The parties in the above case have requested and been granted a judicial settlement
conferencel This matter is hereby referred to the magistrate judge to conduct a judicial settlement
conference within the next 30 days. If the case is not resolved in the settlement conference, Plaintiff

must file a response to Defendant’s summary judgment motion within 15 days thereafter.

IT IS SO ORDERED this ¢?E day of(;¢¢? ’é! , 2005.

RNICE BO DONALD
UNITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:03-CV-02162 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

